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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
       v.                                              Criminal Action No. 22-243(1) (CKK)
 JODI LYNN WILSON

                                            ORDER
                                        (October 24, 2022)

       The Court received the October 24, 2022 [67] Pretrial Compliance Report from the Pretrial

Services Agency for the District of Columbia, which indicated that, per the opinion of a Probation

Officer and the Pretrial Services Agency, Defendant Jodi Lynn Wilson’s conditions of release

should be modified. These modifications were discussed at the Status Hearing on October 24,

2022; no objections were raised other than concern regarding the scheduling of testing around

Defendant Wilson’s work schedule.

       It is, this 24th day of October, 2022, hereby ORDERED that Defendant Wilson’s [14]

Order Setting Conditions of Bond is amended to include the following conditions:

   1. Submit to testing for a prohibited substance if required by the pretrial services office
      or supervising officer. Testing may be used with random frequency and may
      include urine testing, the wearing of a sweat patch, a remote alcohol testing system,
      and/or any form of prohibited substance screening or testing. The Defendant must
      not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of
      prohibited substance screening or testing.
   2. Participate in a program of inpatient or outpatient substance abuse therapy and
      counseling if directed by the pretrial services office or supervising officer.

   SO ORDERED.

                                                         /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge
